                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE

  UNITED STATES OF AMERICA                        )
                                                  )
  v.                                              )             No. 3:17-CR-025
                                                  )
  JEFFREY M. TOWNSEND                             )

                             MEMORANDUM AND ORDER

       This criminal case is before the Court on the defendant’s pro se motion for

 compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A)(i). [Doc. 441]. The United

 States has responded in opposition. [Doc. 443]. For the reasons that follow, the motion will

 be denied.

                                    I. BACKGROUND

       In October 2017, this Court sentenced the defendant to a term of 168 months’

 imprisonment for conspiring to distribute methamphetamine. The defendant is presently

 housed at FCI Ashland with a scheduled release date of February 15, 2029. See Bureau of

 Prisons, https://www.bop.gov/inmateloc/ (last visited September 28, 2020). He now moves

 for compassionate release due to respiratory and cardiac issues along with the COVID-19

 pandemic. The defendant also asks that counsel be appointed on his behalf.

                                    II. SECTION 3582

       Section 3582(c)(1)(A)(i) allows district courts to consider prisoner motions for

 sentence reduction upon a finding of “extraordinary and compelling reasons.” That statute,

 as amended by the First Step Act of 2018, provides in relevant part:




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        [T]he court, upon motion of the Director of the Bureau of Prisons, or upon
        motion of the defendant after the defendant has fully exhausted all
        administrative rights to appeal a failure of the Bureau of Prisons to bring a
        motion on the defendant’s behalf or the lapse of 30 days from the receipt of
        such a request by the warden of the defendant’s facility, whichever is earlier,
        may reduce the term of imprisonment (and may impose a term of probation or
        supervised release with or without conditions that does not exceed the unserved
        portion of the original term of imprisonment), after considering the factors set
        forth in section 3553(a) to the extent that they are applicable, if it finds that—

           (i) extraordinary and compelling reasons warrant such a reduction ... and
           that such a reduction is consistent with applicable policy statements issued
           by the Sentencing Commission....

 18 U.S.C. § 3582(c)(1)(A) (emphasis added).

        As argued by the United States, the Court finds that the present defendant has not

 exhausted the administrative remedies specified in § 3582. Attached to his motion is a July

 1, 2020 message to his warden requesting home confinement under the CARES Act. That

 request was denied. The request did not mention compassionate release or § 3582.

        Seeking home confinement under the CARES Act is wholly distinct from asking the

 Bureau of Prisons to file a compassionate release motion on his behalf under §

 3582(c)(1)(A)(i). There is nothing in the present record documenting that the defendant has

 asked his warden to file a compassionate release motion.

        It remains a defendant’s burden to show that he has exhausted the administrative

 remedies specified in § 3582(c)(1)(a)(i). See United States v. McDonald, No. 94-cr-20256-

 1, 2020 WL 3166741, at *3 (W.D. Tenn. June 8, 2020). That specific exhaustion requirement

 in § 3582(c)(1)(A)(i) “remains a mandatory condition” in this circuit. United States v. Alam,

 960 F.3d 831, 833 (6th Cir. 2020). It is the defendant’s responsibility to ask his warden to file

 a § 3582(c)(1)(A) motion on his behalf, and the defendant may not file a compassionate

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 release request in this Court until after he has done so and not until “after the defendant has

 fully exhausted all administrative rights to appeal a failure of the Bureau of Prisons to bring

 a motion on the defendant’s behalf or the lapse of 30 days from the receipt of such a request

 by the warden of the defendant’s facility, whichever is earlier[.]” 18 U.S.C. § 3582(c)(1)(A).

 Because the defendant has not demonstrated compliance with that exhaustion requirement,

 his compassionate release request in this Court must be denied and dismissed without

 prejudice. Alam, 960 F.3d at 836.

                                      III. CARES ACT

        Section 12003 of the CARES Act presently and temporarily provides for expanded

 prisoner home confinement. However, the CARES Act places decision making authority

 solely within the discretion of the Attorney General and the Director of the Bureau of Prisons.

 The Court therefore does not have power to grant relief under Section 12003 of the CARES

 Act.

                                     IV. CONCLUSION

        To the extent that the defendant moves for home confinement under the CARES Act,

 his motion [doc. 441] is DENIED. To the extent that he moves for compassionate release

 pursuant to 18 U.S.C. § 3582(c)(1)(A)(i), his motion is DENIED AND DISMISSED

 WITHOUT PREJUDICE. The defendant’s request for appointment of counsel is DENIED

 AS MOOT.

               IT IS SO ORDERED.

                                                          ENTER:

                                                                  s/ Leon Jordan
                                                            United States District Judge
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